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 3
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 5   Attorney for Defendant
     JAYSON PETER COSTA
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 7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,        )               Case No. 1: 11-CR-00026 LJO
11                                    )
            Plaintiff,                )               WAIVER OF APPEARANCE
12                                    )               AND ORDER THEREON
                 v.                   )
13                                    )                DATE: January 14, 2013
      JAYSON PETER COSTA,             )                TIME: 8:00 a.m.
14                                    )                 Courtroom Four
            Defendant.                 )
15   _________________________________)                HONORABLE LAWRENCE J. O’NEILL
16
17          Defendant, JAYSON PETER COSTA, hereby waives his right to be present in person in
18   open court upon the hearing presently set for January 14, 2013 at 8:00 a.m. in Courtroom Four
19   of the above entitled court. Defendant hereby requests the court to proceed in his absence and
20   agrees that his interests will be deemed represented at said hearing by the presence of his
21   attorney, JOHN F. GARLAND. Defendant further agrees to be present in person in court at all
22   future hearing dates to be set by the court including the date set for jury trial.
23
24   Dated: 01/11/2012                                            /s/ Jayson Peter Costa
                                                                   JAYSON PETER COSTA
25                                                            [Original signature in counsel’s file]
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 1
 2                                             ORDER
 3
 4          Good cause appearing,
 5          IT IS HEREBY ORDERED that defendant JAYSON PETER COSTA is hereby excused
 6   from appearing at the court hearing scheduled for January 14, 2013 at 8:00 a.m.
 7
 8   IT IS SO ORDERED.
 9 Dated:      January 11, 2013               /s/ Lawrence J. O'Neill   B9ed48
                                              UNITED STATES DISTRICT JUDGE
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